                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JENNIFER SHERBY
38 Chestnut Avenue
Bala Cynwyd, PA 19004                                  CNILACTION

                                                       CASE N0.:15-6076
               Plaintiff,

        v.                                            JURY TRIAL DEMANDED

TE CONNECTNITY, TYCO
ELECTRONICS CORPORATION, LTD
2100 Paxton Street
Harrisburg, PA 17111
            and
ALAN L. SMITH
c/o TE CONNECTIVITY, TYCO
ELECTRONICS CORPORATION, LTD
2100 Paxton Street
Harrisburg, PA 17111
              Defendants.


                     FIRST AMENDED CIVIL ACTION COMPLAINT

       Plaintiff, Jennifer Sherby (hereinafter referred to as "Plaintiff'' unless indicated

otherwise), hereby complains as follows against TE Connectivity, Tyco Electronics Corporation,

LTD, and Alan Smith (hereinafter referred to as "Defendants" unless indicated otherwise) and

avers as follows:

                                        INTRODUCTION

       1.      Plaintiff initiates the instant action to redress violations by Defendants of Title VII

of the Civil Rights Act of 1964, ("Title VII" - 42 U.S.C. §§ 2000d et. seq.) as amended by the

Pregnancy Discrimination Act ("PDA"), and the Family and Medical Leave Act ("FMLA" - 29
U.S.C. §§2601 et. seq.). 1 As a direct consequence of Defendants' unlawful actions, Plaintiff

seeks damages as set forth herein.

                                    JURISDICTION AND VENUE

         2.      This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff's

claims, because this civil action arises under a law of the United States.

         3.      This Court may properly maintain personal jurisdiction over Defendant because

Defendant's contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,

satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny. This Court has supplemental jurisdiction over

Plaintiffs state-law claim(s) because such claim(s) arise out of the same common nucleus of

operative facts as her federal claims asserted herein.

        4.       Pursuant to 28 U.S.C. § 1391(b)(l) and (b)(2), venue is properly laid in this

district because all of the acts and/or omissions giving rise to the claims set forth herein occurred

in this judicial district and Defendant is deemed to reside where it is subject to personal

jurisdiction, rendering Defendant a citizen of the Eastern District of Pennsylvania.

        5.       Plaintiff is proceeding herein under the Title VII/PDA and has properly exhausted

her administrative remedies by timely filing a Charge of Discrimination with the Equal

Employment Opportunity Commission ("EEOC") and by filing the instant lawsuit within ninety

(90) days of receiving a notice of dismissal and/or right to sue letter from the EEOC.




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  Plaintiff intends to amend the instant lawsuit to include claims under the Pennsylvania Human Relations Act
("PHRA") if and when such claims become administratively exhausted. Plaintiffs claims under the PHRA will
mirror her federal claims as set forth herein.


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                                             PARTIES

        6.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.     Plaintiff is an adult individual, with an address as set forth in the caption.

        8.     Defendant entity is an international business entity which designs and

manufactures various electronic devices and components.

        9.     Defendant Alan L. Smith, a Vice President within Defendant entity, was

Plaintiff's most recent supervisor, who had the ability to exercise substantial control over the

terms and conditions of Plaintiffs employment; at all relevant times, Defendant Smith acted in

the interests of Defendant entity.

        10.    At all times relevant herein, Defendants acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendants.

                                     FACTUAL BACKGROUND

        11.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        12.    Plaintiff was employed with Defendant entity for approximately 3.5 years.

        13.    During her employment with Defendant entity, Plaintiff worked in a human

resources capacity and was promoted twice.

        14.    Plaintiffs final position with Defendant entity was Global Program Manager.

        15.    In Plaintiffs position as Global Program Manager, she telecommuted from her

residence 100% of the time.




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        16.     In or about March of 2013 (following a February 2013 announcement), Plaintiff

began being supervised by Defendant Alan Smith (a Vice President).

        17.     Plaintiff was approximately 7-8 months pregnant at the time that Defendant Smith

began to supervisor her.

        18.     Upon information and belief, Defendant Smith knew that Plaintiff was in an

advanced stage of her pregnancy immediately upon commencing direct supervision of her

through conversations, her appearance, and the fact that he had been an indirect supervisor of her

previously.

        19.     Despite Plaintiffs exemplary performance record and multiple promotions,

Defendant Smith specifically memorialized he was going to manage Plaintiff out of her position

upon becoming her supervisor.

        20.     Defendant Smith also exhibited hostility towards Plaintiffs pregnancy including

but not limited to repeatedly questioning Plaintiff about her ability to work from home with an

infant and questioning Plaintiffs ability to focus or complete work in light of her anticipated

child birth.

        21.     Plaintiff took a maternity leave from in or about April of2014 through in or about

July of 2014, a leave which was FMLA-qualifying.

        22.    Upon returning from her FMLA-qualifying maternity leave, Plaintiff was not

reinstated to the same or similar position.

        23.    Instead of returning Plaintiff to her position, Defendant Smith mandated that

Plaintiff physically commute to Harrisburg, Pennsylvania, at least 3 days per week.

       24.     Plaintiff lived approximately two (2) hours away from Harrisburg, which would

result in a four hour round trip every day that she went into the Harrisburg office.




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         25.    Plaintiff was unable to work in the position due to the expense, time or burden of

 such a daily commute, and thus her position was terminated (and/or constructively terminated).

         26.    Plaintiffs last physical day of work for Defendant entity was on or about

September 12, 2014.

         27.    Upon information and belief, Plaintiff was replaced by a male who was permitted

to telecommute 100% of the time and was not required to travel to Harrisburg even once a week.

         28.    Plaintiff believes and therefore avers that she was discriminated against and

terminated (and/or constructively terminated) because of her gender/pregnancy, and that

Defendants committed violations of the FMLA as outlined infra.

                                   First Cause of Action
                                Violations of Title VII/PD A
        (Wrongful Termination - Pregnancy Discrimination as to Defendant entity only)

         29.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

         30.    Defendant entity is an "employer" within the meaning of the Title VII/PDA

because, at all times relevant herein, Defendant entity has employed at least fifteen (15) or more

employees for at least 20 weeks during each calendar year of Plaintiff's employment with

Defendant entity.

        31.    Plaintiff is qualified under the Title VII/PDA for protection because she was

pregnant.

        32.    Plaintiff was terminated because of her pregnancy.

        33.    Defendant entity's action of terminating Plaintiff because of her pregnancy

constitutes a violation of Title VII/PDA.




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                                              Second Cause of Action
                          Violations of the Family and Medical Leave Act ("FMLA")
                                         - Interference and Retaliation -
                                         (Against all named Defendants)

        34.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        35.    Plaintiff was an eligible employee under the definitional terms of the Family and

Medical Leave Act, 29 U.S.C. § 261 l(a)(i)(ii).

        36.    Plaintiff requested maternity leave from Defendant entity, her employer, with

whom she had been employed for at least twelve months pursuant to the requirements of 29

U.S.C.A § 2611(2)(i).

        37.    Plaintiff had at least 1,250 hours of service with the Defendant entity during her

last full year of employment.

        38.    Defendant entity is engaged in an industry affecting commerce and employs fifty

(50) or more employees for each working day during each of the twenty (20) or more calendar

work weeks in the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

        39.    Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(l) for a

total of twelve (12) work weeks ofleave.

        40.    Plaintiff took FMLA-qualifying leave from on or about April of 2014 through in

or about July 2014 for the birth of her son.

        41.    Upon her return to work, Plaintiff was not reinstated to the same position, but was

instead informed that her job would involve commuting to Harrisburg up to three (3) times a

week, and further that she had no choice in the matter or her position would be back-filled.




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        42.    Due to Plaintiffs drastic change in job duties, including substantial travel and

associated expenses, Plaintiff had no meaningful choice but to resign, and was thus

constructively discharged.

        43.    Upon information and belief,          Defendant Smith orchestrated Plaintiffs

termination, demanding that she commute three (3) times a week upon her return from maternity

leave, and refusing to allow her to resume her job duties as normally and customarily assigned

prior to her FMLA leave.

        44.    After Plaintiffs termination, another individual was retained to fulfill Plaintiffs

job responsibilities, and this individual was not required to perform the same commute as was

requested of Plaintiff.

        45.    Therefore, Plaintiff believes that her FMLA leave was a motivating factor in

Defendants' decision not to re-instate to her to her original position, and prompted her

constructive discharge.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendants are to be prohibited from continuing to maintain their illegal policy,

practice or custom of discriminating against employees and are to be ordered to promulgate an

effective policy against such unlawful acts and to adhere thereto;

       B.      Defendants are to compensate Plaintiff, reimburse Plaintiff and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendants' illegal actions, including but not limited to past lost earnings, future lost earnings,

salary, pay increases, bonuses, medical and other benefits, training, promotions, pension, and

seniority. Plaintiff should be accorded those benefits illegally withheld from the date she first

suffered discrimination at the hands of Defendants until the date of verdict;




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        C.     Plaintiff is to be awarded punitive damages, and/or liquidated damages, as

 permitted by applicable law(s) alleged asserted herein, in an amount believed by the Court or

 trier of fact to be appropriate to punish Defendants for its willful, deliberate, malicious and

 outrageous conduct and to deter Defendants or other employers from engaging in such

misconduct in the future;

        D.     Plaintiff is to be accorded any and all other equitable and legal relief as the Court

deems just, proper and appropriate including for emotional distress;

        E.     Plaintiff is to be awarded the costs and expenses of this action and reasonable

legal fees as provided by applicable federal and state law;

        F.     Any verdict in favor of Plaintiff is to be molded by the Court to maximize the

financial recovery available to Plaintiff in light of the caps on certain damages set forth in

applicable federal law; and

       G.      Plaintiff's claims are to receive a trial by jury to the extent allowed by applicable

law. Plaintiff has also endorsed this demand on the caption of this Complaint in accordance with

Federal Rule of Civil Procedure 38(b).

                                             Respectfully submitted,

                                             KARPF, KARPF, & CERUTTI, P.C.

                                             Is Christine E. Burke

                                             Christine E. Burke, Esq.
                                             Ari R. Karpf, Esquire
                                             3331 Street Road
                                             Two Greenwood Square
                                             Suit 128
                                             Bensalem, PA 19020
                                             (215) 639-0801

Dated: February 8, 2016




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